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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )                   8:13CR223
                                          )
                    Plaintiff,            )
                                          )
             v.                           )                MEMORANDUM
                                          )                 AND ORDER
ALEX C. TAYLOR,                           )
                                          )
                    Defendant.            )

     This matter is before the court on Magistrate Judge Thalken’s findings and
recommendation. (Filing 46.) The defendant did not file a statement of objections.
The magistrate recommends that defendant’s motion to suppress be denied.

      I have conducted a de novo review of the record. I find that inasmuch as the
magistrate judge has fully, carefully, and correctly found the facts and applied the law,
the magistrate judge’s findings and recommendation should be adopted and the
defendant’s motion to suppress should be denied.

      Accordingly,

      IT IS ORDERED that:

      1.     The magistrate judge’s findings and recommendation (filing 46) is
             adopted.

      2.     The defendant’s motion to suppress (filing 32) is denied in all respects.
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      DATED this 4th day of December, 2013.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge




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